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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                               Case No.: 1:20-cv-22665

  FLORIDA FAIR HOUSING ALLIANCE, INC.,

         Plaintiff,

  v.

  THE PALM BAY GRAND, LLC
  d/b/a PALM BAY GRAND,

        Defendant.
  _______________________________________/

            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

         Despite making up less than one-third (29%) of the total U.S. population, Black and

  Hispanic individuals represent more than half (58%) of the individuals convicted of any felony.

  In light of this dystopian reality, the screening practices Defendant directs at individuals it

  (Defendant) suspects to have been convicted of any felony has a disparate impact on Black and

  Hispanic individuals. Yet, make no mistake, the Florida Fair Housing Alliance is not attempting

  to hold Defendant accountable for the disproportionate criminal prosecution unjustly endured

  by Black and Hispanic individuals. Rather, in acknowledgment of such undeniable fact, the

  Florida Fair Housing Alliance brings this action to eliminate the below-evidenced screening

  practice of Defendant because, although facially neutral, such practice is an unnecessary, arbitrary,

  and artificial barrier to housing that disproportionately impacts Black and Hispanic individuals.

         As such, Plaintiff Florida Fair Housing Alliance, Inc. (the “FFH Alliance” or “Plaintiff”)

  sues Defendant The Palm Bay Grand, LLC doing business as Palm Bay Grand (“Defendant”),

  under a theory of disparate-impact liability, for violating 42 U.S.C. § 3601 et seq., the Fair

  Housing Act.
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                                                       INTRODUCTION

            1.         “The [Fair Housing Act] is not an instrument to force housing authorities to reorder

  their priorities. Rather, the [Fair Housing Act] aims to ensure that those priorities can be achieved

  without arbitrarily creating discriminatory effects or perpetuating segregation.” Inclusive Cmtys.

  Project, Inc., 135 S. Ct. 2507 at 2522. Due to policies and practices like blanket bans on any

  applicant with a felony conviction, or the more nefariously latent practices of Defendant discussed

  below, the FFH Alliance has documented thousands of housing units in the greater South Florida

  area that are unavailable to individuals with any felony conviction from any point in time, and to

  many individuals with a misdemeanor conviction.

            2.         To combat the perpetuation of segregation and stem the discriminatory impact of

  needlessly unjust practices, housing providers large and small must evaluate and revise the role

  that criminal records screening policies and practices play in their application decisions to ensure

  that they are serving a substantial, legitimate, non-discriminatory interest and are not a proxy for

  racial discrimination.

            3.         As confirmed by FFH Alliance’s investigation of Defendant on May 6, 2020,

  Defendant has erected arbitrary, unnecessary, and otherwise hidden, barriers to housing that have

  an unjustifiable disparate impact on Black and Hispanic individuals. In short, the screening

  practices Defendant directs at individuals it (Defendant) so much as suspects as have any felony

  conviction has a disparate impact on Black and Hispanics individuals because, despite making up

  less than one-third of the population, Black and Hispanic represent more than half of all convicted

  felons.

            4.         In the eyes of Defendant, individuals that it (Defendant) even suspects to have been

  convicted of a felony do not deserve mere consideration for the housing Defendant claims to be

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  indiscriminately available. It does not matter whether the individual actually was a convicted felon,

  suspicion alone, or as exemplified below, mere inquiry into Defendant’s handling of convicted

  felons is enough.

          5.         Due to the documented racial disparity in the criminal legal system, Defendant’s

  below discussed prohibition on applicants with a felony conviction, by extension,

  disproportionately limits the housing opportunities of Hispanic and Black applicants in

  comparison to White applicants, and in so doing, violates the Fair Housing Act.

                                            JURISDICTION AND VENUE

          6.         Jurisdiction of this Court arises under 42 U.S.C. § 3613(a), 28 U.S.C. § 1331, and

  28 U.S.C. § 1337.

          7.         Venue in this District is proper because Plaintiff resides in this district, Defendant

  transacts business in this district, and the complained conduct of Defendant occurred in this

  district.

                                                           PARTIES

          8.         The FFH Alliance is a fair housing advocacy organization and non-profit

  corporation formed in Florida, and headquartered in Miami-Dade, Florida. The FFH Alliance

  offers a variety of programs and services designed to advance fair housing in Florida. To advance

  its mission of ensuring equal access to housing for all, the FFH Alliance engages in education and

  outreach; provides counseling to individuals facing discrimination; works with local and federal

  officials to enhance fair housing laws and their enforcement; undertakes investigations to

  uncover unlawful discrimination; and, when necessary, initiates enforcement actions.

          9.         Defendant is a Florida limited liability company, with its principal place of business

  located in Winter Park, Florida.

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                                            DEMAND FOR JURY TRIAL

            10.      Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                              FACTUAL ALLEGATIONS

            11.      Approximately 1.5 million individuals are currently serving a sentence of more than

  one year, i.e., the repayment phrase of a felony-level debt to society, under the jurisdiction of state

  or federal correctional authorities in the United States. With respect to these individuals’

  demographics, according to the Bureau of Justice Statistics: 30% are white, 33% are black, and

  25% are Hispanic.1 In comparison to the demographics of the United States population (the total

  of which is estimated at 308 million), however, according to the U.S. Census Bureau: 63% of the

  population is white, 13% of the population is black, 16% of the population is Hispanic.2

            12.      Despite making up a fractional percentage of the United States population in

  comparison to whites, Hispanic individuals, for example, are three times more likely to be

  convicted and incarcerated than that of white individuals.3 Thus, in simplest terms, a policy,

  procedure, or practice that arbitrarily denies, without any consideration, housing to individuals

  with a felony conviction will absolutely have a disparate impact on Black and Hispanic individuals.

            13.      Pursuant to its mission of ensuring equal access to housing for all, the FFH Alliance

  began investigating the “Palm Bay Grand” apartment community, located at 145 Cinnamon Cove

  Drive, Melbourne, Florida 32901 (the “Complex”), for discriminatory housing practices.

            14.      Defendant is the owner and otherwise landlord of the Complex.


  1
   Bureau of Justice Statistics, U.S. Dep’t of Justice, Prisoners in 2017, 15 (April 2019), available
  at https://www.bjs.gov/content/pub/pdf/p17.pdf.
  2
   U.S. Census Bureau, U.S. Dep’t of Commerce, Overview of Race and Hispanic Origin: 2010, 6
  (March 2011), available at https://www.census.gov/prod/cen2010/briefs/c2010br-02.pdf.
  3
      Supra at FN. 5.
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         15.      On May 06, 2020, the FFH Alliance tested the Complex for unlawful

  discriminatory housing practices using a field tester.

         16.      The field tester used by the FFH Alliance to test the Complex (“Field Tester” or

  “FT”) is a sui juris Hispanic male with a felony conviction.

         17.      On May 06, 2020, at approximately 12:16 p.m., FT called the Complex at phone

  number 321-210-1009. After dialing this number FT was connected to an agent of Defendant, of

  whom identified herself as “Julia.” FT first asked whether rental property was available, to which

  Defendant responded, without hesitation, that property was available, namely, a one-bedroom

  apartment. FT then asked whether his (FT’s) rental application would be denied due to FT’s record

  felony conviction, to which Defendant immediately retorted: “yes you would.”

         18.      Defendant’s response to FT regarding convicted-felon applicants demonstrates that

  Defendant directs individuals convicted of a felony, the majority of which are disproportionately

  Black and Hispanic, away from both the Dwelling and the Complex.

         19.      Defendant did not perform any investigation or inquiry into the felony conviction

  had by FT. For example, Defendant did not inquire into the type of felony, the date of conviction,

  the nature of the conviction, let alone the circumstances surrounding the felony conviction had by

  FT. Defendant simply identified FT as an individual with a felony conviction, and without any

  inquiry or investigation, chose to deter FT from renting the property Defendant held open to the

  public due to FT’s record felony conviction.

         20.      The statements made by Defendant to FT regarding applicants previously convicted

  of a felony serves to discourage Black and Hispanic individuals with a criminal record from

  applying, inspecting, and renting the Dwelling, and otherwise restricts the choices of these

  individuals in connection with attempts to seek, negotiate for, and ultimately rent the Dwelling.

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         21.       Consistent with the FFH Alliance’s suspicions, that is, until such suspicion was

  confirmed on May 06, 2020, Defendant, whether intentionally or ignorantly, perpetuates

  segregated housing patterns and discourages and/or obstructs choices in the applicable community,

  neighborhood, and/or development.

         22.       Simply put, Defendant’s decision to steer individuals convicted of any felony away

  from the Complex and/or Dwelling, i.e., to flat out tell FT that individuals convicted of a felony

  will be denied, all without conducting even the most minimal inquiry into such an individual’s

  circumstances, has a disparate impact on Black and Hispanic individuals.

         23.       The harm inflicted by discriminatory practices and/or policies directed at

  individuals with criminal records, like those of Defendant, is significant, not only in terms of the

  sheer number of people affected, but also in terms of the consequences for the wellbeing of our

  communities. In fact, securing safe and affordable housing is a particularly crucial need for

  individuals reentering their communities immediately after time in prison.

         24.       Research shows that success in finding adequate housing is critically important to

  allowing reentrants to secure employment, government benefits, and other community ties.

  Housing has been characterized, properly, as the “lynchpin that holds the reintegration process

  together.”4

         25.       As another expert put it, “[t]he search for permanent, sustainable housing portends

  success or failure for the entire reintegration process.”5




  4
   Jeremy Travis, But They All Come Back: Facing Challenges of Prisoner Reentry 219 (2005).
  5
    Barbara H. Zaitzow, We’ve Come a Long Way, Baby...Or Have We? Challenges and
  Opportunities for Incarcerated Women to Overcome Reentry Barriers 233 (in Global Perspectives
  on Re-Entry (2011)).
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         26.      On April 4, 2016, more than four years ago, the U.S. Department of Housing and

  Urban Development (“HUD”) issued a document titled “Office of General Counsel Guidance on

  Application of Fair Housing Act Standards to the Use of Criminal Records by Providers of

  Housing and Real Estate-Related Transactions” (the “HUD Guidance”).

         27.      The HUD Guidance noted that “criminal history-based restrictions on access to

  housing are likely disproportionately to burden African Americans and Hispanics.” Id. HUD found

  that “where a policy or practice that restricts access to housing on the basis of criminal background

  has a disparate impact on individuals of a particular race … such policy or practice is unlawful

  under the Fair Housing Act if it is not necessary to serve a substantial, legitimate,

  nondiscriminatory interest of the housing provider.” See HUD Guidance.

         28.      Ultimately, HUD concluded that “a discriminatory effect resulting from a policy

  or practice that denies housing to anyone with a prior arrest or any kind of criminal

  conviction cannot be justified, and therefore such a practice would violate the Fair Housing

  Act.” Id. (emphasis added).

         29.      Further, HUD made clear that no substantial, legitimate, nondiscriminatory interest

  can be served where “[a] housing provider … imposes a blanket prohibition on any person with

  any conviction record – no matter when the conviction occurred, what the underlying conduct

  entailed, or what the convicted person has done since then.” Id. The FFH Alliance finds the same.

         30.      According to recent data, studies, and HUD findings, Hispanic and Black people

  are arrested, convicted, and imprisoned at vastly disproportionate in country as a whole, of which

  is consistent within the State of Florida. As such, the discriminatory steering practices of

  Defendant, those the above-transcribed interaction between Defendant and FT exemplifies,

  actually and predictably results in a disparate impact to Hispanic and Black people.

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         31.      Defendant’s practice or otherwise policy regarding the criminal history of

  individuals seeking to rent, utilize, or otherwise occupy the Dwelling is unlawful under the Fair

  Housing Act, as it has a disparate impact on Black and Hispanic individuals and otherwise fails to

  serve a substantial, legitimate, nondiscriminatory interest of the housing provider.

         32.      Defendant’s acts impaired the FFH Alliance’s ability to engage in projects by

  forcing the FFH Alliance to devote resources to counteract the herein complained of actions of

  Defendant. Further, the resources diverted are independent of the cost of detecting and challenging,

  via non-legal means, the alleged misconduct of Defendant. Simply put, the FFH Alliance was

  forced to divert resources from, among other things, its counseling, outreach, and educational

  efforts, and into the advancement of this litigation to protect the FFH Alliance’s core mission.

         33.      Despite the prelitigation efforts of the FFH Alliance, Defendant refuses to evaluate

  and revise the role that criminal records, or more pointedly, the mere suspicion of a felony

  conviction, play in Defendant’s screening policies and practices to ensure that Defendant is not

  perpetuating segregation and otherwise needlessly erecting barriers to housing.

         34.      Consistent with FFH Alliance’s fair housing testing efforts, FFH Alliance has a

  practice of continuing to monitor and test those entities and individuals found to have been engaged

  in discriminatory housing practices. FFH Alliance’s will continue monitoring Defendant, and its

  agents, in order to determine its (Defendant’s) ongoing compliance with the Fair Housing Act.

                                    COUNT I.
               VIOLATION OF THE FAIR HOUSING ACT – 42 U.S.C. § 3604(d)

         35.      Plaintiff, the FFH Alliance, incorporates by reference paragraphs 1-34 of this

  Complaint as though fully stated herein.

         36.      Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

  violations committed by Defendant and the agents of Defendant.
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         37.       Defendant authorized its agents to act for it (Defendant) when Defendant’s agents

  committed the Fair Housing Act violations alleged herein. The agents of Defendant accepted the

  undertaking of acting on behalf of Defendant when they (Defendant’s agents) committed the Fair

  Housing Act violations alleged herein. Defendant had control over its (Defendant’s) agents when

  said agents committed the Fair Housing Act violations alleged herein.

         38.       Here, Defendant’s practice of, without any review or investigation, turning away

  individuals with a felony criminal record is an arbitrary and artificial barrier to housing, the likes

  of which is unnecessary to achieve a valid interest or legitimate objective. Further, a robust causal

  link exists between Defendant’s discussed practices and the disparate impact on Black and

  Hispanic people, as Black and Hispanic individuals are disproportionally more likely to have been

  convicted of a felony than that of white individuals. Defendant’s practice of denying, or otherwise

  without any review or investigation, turning away prospective individual it merely thinks was

  previously convicted of a felony has a direct, disproportionate discriminatory effect on Black and

  Hispanic individuals.

         39.       Defendant has violated the Fair Housing Act by, inter alia, making unavailable

  and/or otherwise denying the Dwelling to individuals on the basis of race and/or criminal record.

         40.       FFH Alliance has been aggrieved, harmed, and its (the FFH Alliance’s) goal

  otherwise thwarted, by above-exemplified latent discriminatory hurdle Defendant perpetuates – of

  which Defendant continues to practice despite such practices being explicitly condemned by HUD.

  See HUD Guidance (wherein HUD concluded that “a discriminatory effect resulting from a policy

  or practice that denies housing to anyone with a prior arrest or any kind of criminal conviction

  cannot be justified, and therefore such a practice would violate the Fair Housing Act.”).




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         41.      The FFH Alliance, having uncovered Defendant’s latent discriminatory practice

  and/or policy – has suffered damages in light of the FFH Alliance’s goals, purpose, and ongoing

  monitoring efforts. Further, due to Defendant’s conduct, the FFH Alliance’s has suffered, is

  continuing to suffer, and will in the future suffer, irreparable loss and injury and a real and

  immediate threat of future discrimination by Defendant.

         42.      WHEREFORE, Plaintiff FFH Alliance, respectfully, requests that this Court:

                  (a)       Declare the above-mentioned actions, practices, omissions, polices, and
                            procedures, of Defendant to be in violation of the Fair Housing Act;

                  (b)       Award damages to Plaintiff against Defendant;

                  (c)       Enter a permanent injunction enjoining Defendant from using the steering
                            practices complained of herein;

                  (d)       Enter a permanent injunction compelling Defendant to amend its
                            (Defendant’s) polices, Procedures, and practices, that have a disparaging
                            impact on Black and Hispanic individuals;

                  (e)       Award Plaintiff costs and reasonable attorneys’ fees; and

                  (f)       Any other relief that this Court deems appropriate and just under the
                            circumstances.
         DATED: June 26, 2020
                                                                Respectfully Submitted,

                                                                 /s/ Jibrael S. Hindi                                   .
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